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  17    Wilco Life Insurance Company
  18                         UNITED STATES DISTRICT COURT
  19                        CENTRAL DISTRICT OF CALIFORNIA

  20    LSCC LLC, an Arkansas limited liability
        corporation, individually and on behalf of   Case No. 2:19-cv-01854-PSG (MRWx)
  21    itself and all others similarly situated,
  22                                                     JOINT STIPULATION OF
                     Plaintiff,                               DISMISSAL
  23                                                        WITH PREJUDICE
              vs.
  24                                                 Complaint Filed: March 13, 2019
  25    WILCO LIFE INSURANCE COMPANY
        f/k/a CONSECO LIFE INSURANCE                 Judge:    Hon. Philip S. Gutierrez
  26    COMPANY,
  27
                     Defendant.
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    1         Plaintiff LSCC, LLC (“LSCC”) and Defendant Wilco Life Insurance
    2 Company now known as Wilcac Life Insurance Company (“Wilco Life”) file this
    3 Joint Stipulation of Dismissal with Prejudice and request that the Court dismiss all
    4 claims in this matter.
    5         Pursuant a settlement agreement between the Parties (the “Grace Period
    6 Settlement Agreement”) and Rule 41(a)(2) of the Federal Rules of Civil Procedure,
    7 the Parties stipulate that all claims against Wilco Life are hereby dismissed with
    8 prejudice. The Parties further stipulate that this action shall be dismissed and that
    9 all parties shall bear their own respective attorneys’ fees and costs of suit.
   10
        Dated: August 3, 2021.
   11                                  BONNETT, FAIRBOURN, FRIEDMAN
   12                                  & BALINT, PC
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